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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

RICHARD ROEGNER,                                     )
                                                     )
                       Plaintiff,                    )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        Case No.
HILLCROFT SHOPPING PLAZA, LP,                        )
                                                     )
                       Defendant.                    )

                                            COMPLAINT

       COMES NOW, RICHARD ROEGNER, by and through the undersigned counsel, and

files this, his Complaint against Defendant, HILLCROFT SHOPPING PLAZA, LP, pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).              In support thereof, Plaintiff

respectfully shows this Court as follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                             PARTIES

       2.      Plaintiff, RICHARD ROEGNER (hereinafter “Plaintiff”) is, and has been at all

times relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking and standing.



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       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property within six months after it is accessible (“Advocacy Purposes”).

       7.      Defendant, HILLCROFT SHOPPING PLAZA, LP (hereinafter “HILLCROFT

SHOPPING PLAZA, LP”), is a Texas limited partnership that transacts business in the State of

Texas and within this judicial district.

       8.      Defendant, HILLCROFT SHOPPING PLAZA, LP, may be properly served with

process for service via its Registered Agent, to wit: c/o Ajay G. Thomas, Registered Agent,

7457 Harwin, Suite 208, Houston, TX 77036.

                                   FACTUAL ALLEGATIONS

       9.      On or about February 27, 2021, Plaintiff was a customer at “Tacos Mexico” a

business located at 11132 Airline Drive, Houston, TX 77037 and also was a customer at “1.00 $

Plus Store” a business located at 11122 Airline Drive, Houston, TX 77037, referenced herein

collectively as “Tacos Mexico and 1.00 $ Plus Store”. Attached is a receipt documenting

Plaintiff’s purchase at Tacos Mexico. See Exhibit 1. Also attached is a photograph documenting

Plaintiff’s visit to the Property while at Tacos Mexico. See Exhibit 2. Attached is a receipt

documenting Plaintiff’s purchase at 1.00 $ Plus Store. See Exhibit 3. Also attached is a



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photograph documenting Plaintiff’s visit to the Property while at 1.00 $ Plus Store. See Exhibit

4.

       10.     Defendant, HILLCROFT SHOPPING PLAZA, LP, is the owner or co-owner of

the real property and improvements that Tacos Mexico and 1.00 $ Plus Store are situated upon

and that is the subject of this action, referenced herein as the “Property.”

       11.     Plaintiff lives 6 miles from the Property.

       12.     Plaintiff’s access to the business(es) located 11100 Airline Drive, Houston, TX

77037, Harris County Property Appraiser’s property identification number 0420740000103 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and until

Defendant, HILLCROFT SHOPPING PLAZA, LP, is compelled to remove the physical barriers

to access and correct the ADA violations that exist at the Property, including those set forth in

this Complaint.

       13.     Defendant, HILLCROFT SHOPPING PLAZA, LP, as property owner, is

responsible for complying with the ADA for both the exterior portions and interior portions of

the Property. Even if there is a lease between Defendant, HILLCROFT SHOPPING PLAZA, LP

and the tenant allocating responsibilities for ADA compliance within the unit the tenant operates,

that lease is only between the property owner and the tenant and does not abrogate the

Defendant’s independent requirement to comply with the ADA for the entire Property it owns,

including the interior portions of the Property which are public accommodations. See 28 CFR §

36.201(b).

       14.     Plaintiff has visited the Property at least once before as a customer and advocate



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for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Complaint are removed and the Property is accessible again. The

purpose of the revisit is to be a return customer, to determine if and when the Property is made

accessible and to maintain standing for this lawsuit for Advocacy Purposes.

          15.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer living in the near vicinity as well as for Advocacy Purposes, but does not intend

to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting

the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.

          16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered the barriers to access the Property that are detailed in this

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the Property.

                                        COUNT I
                            VIOLATIONS OF THE ADA AND ADAAG

          17.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

          18.     Congress found, among other things, that:

          (i)     some 43,000,000 Americans have one or more physical or mental
                  disabilities, and this number is increasing as the population as a whole is
                  growing older;

          (ii)    historically, society has tended to isolate and segregate individuals with
                  disabilities, and, despite some improvements, such forms of discrimination
                  against individuals with disabilities continue to be a serious and pervasive
                  social problem;

          (iii)   discrimination against individuals with disabilities persists in such critical
                  areas as employment, housing public accommodations, education,


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               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       19.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       20.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       21.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).



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       22.     The Property is a public accommodation and service establishment.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       25.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       26.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property as well as an independent advocate for the disabled,

but could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       27.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.



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       28.     Defendant, HILLCROFT SHOPPING PLAZA, LP, has discriminated against

Plaintiff (and others with disabilities) by denying his access to, and full and equal enjoyment of

the goods, services, facilities, privileges, advantages and/or accommodations of the Property, as

prohibited by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       29.     Defendant, HILLCROFT SHOPPING PLAZA, LP, will continue to discriminate

against Plaintiff and others with disabilities unless and until Defendant, HILLCROFT

SHOPPING PLAZA, LP, is compelled to remove all physical barriers that exist at the Property,

including those specifically set forth herein, and make the Property accessible to and usable by

Plaintiff and other persons with disabilities.

       30.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

       (i)     Near Unit 11122, there is one accessible parking space that does not have a

               marked access aisle in violation of Section 502.3.3 of the 2010 ADAAG

               standards. This violation would make it dangerous and difficult for Plaintiff to

               access the accessible entrances of the Property.

       (ii)    Near Unit 11122, the accessible parking space is missing an identification sign in

               violation of Section 502.6 of the 2010 ADAAG standards. This violation would

               make it difficult for Plaintiff to locate an accessible parking space.



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 (iii)    Near Unit 11122, due to a failure to enact a policy of proper maintenance, the

          accessible parking space is not adequately marked as the lines indicating the

          dimensions of the accessible parking space are faded and is in violation of Section

          502.1 of the 2010 ADAAG standards. This violation would make it difficult for

          Plaintiff to locate an accessible parking space.

 (iv)     Near Unit 11122, the accessible parking space is not level due to the presence of

          an accessible ramp in the accessible parking space in violation of Section 502.4 of

          the 2010 ADAAG standards. This violation would make it dangerous and difficult

          for Plaintiff to exit and enter their vehicle while parked at the Property.

 (v)      Near Unit 11122, the accessible curb ramp is improperly protruding into the

          accessible parking space in violation of Section 406.5 of the 2010 ADAAG

          Standards. This violation would make it difficult and dangerous for Plaintiff to

          exit/enter their vehicle.

 (vi)     Near Unit 11122, there is a vertical rise at the base of the accessible ramp of

          approximately 2 inches rendering this ramp inaccessible, in violation of Sections

          303.2 and 405.4 of the 2010 ADAAG standards. This violation would make it

          dangerous and difficult for Plaintiff to access public features of the Property.

 (vii)    Near Unit 11122, the Property has an accessible ramp that lacks finished edges or

          edge protection and/or is otherwise in violation of Section 405.9 of the 2010

          ADAAG standards. This violation would make it difficult for Plaintiff to access

          the units of the Property.

 (viii)   Near Unit 11122 and Unit 11114, due to the fact that a parked vehicle will block

          the accessible route, the Property lacks an accessible route from these two



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         accessible parking spaces to the accessible entrance of the Property in violation of

         Section 208.3.1 of the 2010 ADAAG standards. This violation would make it

         difficult for Plaintiff to access the units of the Property.

 (ix)    Near Unit 11122, due to the presence of a two inch vertical rise at the base of the

         accessible ramp serving the accessible parking space here, the Property lacks an

         accessible route from this accessible parking space to the accessible entrance of

         the Property in violation of Section 208.3.1 of the 2010 ADAAG standards. This

         violation would make it difficult for Plaintiff to access the units of the Property.

 (x)     Near Unit 11122, there is an opening between the accessible ramp and the

         sidewalk of at least 1 inch in violation of section 302.3 of the 2010 ADAAG

         Standards. This opening also creates a vertical rise at the top of the accessible

         ramp in excess of ½ inch in violation of section 303.2 of the 2010 ADAAG

         Standards. These barriers to access would make it difficult and dangerous for

         Plaintiff to utilize this ramp as an accessible route.

 (xi)    Near Unit 11122 and Unit 11114, due to the lack of an access aisle, when vehicles

         are parked adjacent to these accessible parking spaces, there is not a 36 inch

         accessible route allowing enough room for a disabled individual in a wheelchair

         to enter and exit his/her vehicle. As such, the Property lacks an accessible route

         from these two accessible parking spaces to the accessible entrance of the

         Property in violation of Section 208.3.1 of the 2010 ADAAG standards.

 (xii)   Near Unit 11114, the accessible parking space is missing an identification sign in

         violation of Section 502.6 of the 2010 ADAAG standards. This violation would

         make it difficult for Plaintiff to locate an accessible parking space.



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 (xiii)   Near Unit 11114, the accessible parking space does not have a marked access

          aisle in violation of Section 502.3.3 of the 2010 ADAAG standards. This

          violation would make it dangerous and difficult for Plaintiff to access the

          accessible entrances of the Property.

 (xiv)    Near Unit 11114, the accessible parking space is not level due to the presence of

          an accessible ramp in the accessible parking space in violation of Section 502.4 of

          the 2010 ADAAG standards. This violation would make it dangerous and difficult

          for Plaintiff to exit and enter their vehicle while parked at the Property.

 (xv)     Near Unit 11114, the accessible curb ramp is improperly protruding into the

          accessible parking space in violation of Section 406.5 of the 2010 ADAAG

          Standards. This violation would make it difficult and dangerous for Plaintiff to

          exit/enter their vehicle.

 (xvi)    Near Unit 11114, the Property has an accessible ramp leading from the accessible

          parking space to the accessible entrances with a slope exceeding 1:12 in violation

          of Section 405.2 of the 2010 ADAAG standards. This violation would make it

          dangerous and difficult for Plaintiff to access the units of the Property.

 (xvii) Near Unit 11114, the Property has an accessible ramp that lacks finished edges or

          edge protection and/or is otherwise in violation of Section 405.9 of the 2010

          ADAAG standards. This violation would make it difficult for Plaintiff to access

          the units of the Property.

 (xviii) Due to the barriers to access identified in paragraph 30(vi), (viii) and (ix), the

          Property lacks an access route from site arrival points such as the public streets

          and sidewalks to the accessible entrance in violation of Section 206.2.1 of the



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               2010 ADAAG standards. This violation would make it dangerous and difficult for

               Plaintiff to access the Property.

       (xix)   The total number of accessible parking spaces is inadequate and is in violation of

               Section 208.2 of the 2010 ADAAG standards. There are approximately 80 total

               parking spaces (including the rear parking lot), which requires a minimum of four

               accessible parking spaces, but there are only two accessible parking spaces. This

               violation would make it difficult for Plaintiff to locate an accessible parking

               space.

       (xx)    There are no van accessible parking spaces in violation of section 208.2.4 and

               502.6 of the 2010 ADAAG Standards.

       (xxi)   Defendants fail to adhere to a policy, practice and procedure to ensure that all

               facilities are readily accessible to and usable by disabled individuals.

       31.     The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       32.     Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       33.     The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       34.     All of the violations alleged herein are readily achievable to modify to the

Property into compliance with the ADA.

       35.     Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of



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the modifications are relatively low.

       36.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant,

HILLCROFT SHOPPING PLAZA, LP, has the financial resources to make the necessary

modifications. According to the Property Appraiser, the Appraised value of the Property is

$1,131,690.00.

       37.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility

modifications.

       38.       Upon information and good faith belief, the Property has been altered since 2010.

       39.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       40.       Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

HILLCROFT SHOPPING PLAZA, LP, is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Property, including those alleged herein.

       41.       Plaintiff’s requested relief serves the public interest.

       42.       The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, HILLCROFT SHOPPING PLAZA, LP.

       43.       Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, HILLCROFT SHOPPING PLAZA, LP, pursuant to 42 U.S.C. §§



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12188 and 12205.

       44.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant,

HILLCROFT SHOPPING PLAZA, LP, to modify the Property to the extent required by the

ADA.

       WHEREFORE, Plaintiff prays as follows:

       (a)   That the Court find Defendant, HILLCROFT SHOPPING PLAZA, LP, in

             violation of the ADA and ADAAG;

       (b)   That the Court issue a permanent injunction enjoining Defendant, HILLCROFT

             SHOPPING PLAZA, LP, from continuing their discriminatory practices;

       (c)   That the Court issue an Order requiring Defendant, HILLCROFT SHOPPING

             PLAZA, LP, to (i) remove the physical barriers to access and (ii) alter the

             Property to make it readily accessible to and useable by individuals with

             disabilities to the extent required by the ADA;

       (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

             and costs; and




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 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: April 5, 2021

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
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